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25                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
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 2                                       Case No. 21-cv-1626-EMC
     THE WOMEN’S STUDENT UNION,
 3                                       Case Management Statement
 4                    Plaintiff,
                                         Hon. Edward M. Chen
 5        v.                             Hearing: January 20, 2022, 1:30 p.m.

 6   U.S. DEPARTMENT OF EDUCATION,       Phillip Burton Federal Building & United
                                         States Courthouse, Courtroom 5, 17th
 7                                       Floor, 450 Golden Gate Ave., San
                      Defendant.
 8                                       Francisco, CA 94102

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 1          The parties respectfully submit the following Joint Case Management Statement, pursuant to the

 2 Court’s standing order and its November 12, 2021 clerk’s notice, ECF No. 92.

 3 1. Jurisdiction and Service

 4          There are no issues regarding personal jurisdiction or venue, and Defendant U.S. Department of

 5 Education has been served. However, the parties disagree on whether the Court has subject-matter

 6 jurisdiction.

 7          In Defendant’s view, the Court lacks subject-matter jurisdiction because Plaintiff The Women’s

 8 Student Union lacks standing to challenge provisions of the U.S. Department of Education’s

 9 Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving Federal Financial
10 Assistance, 85 Fed. Reg. 30,026 (May 19, 2020) [hereinafter 2020 Rule], and because this case is unripe.

11 Defendant has filed a motion to dismiss Plaintiff’s First Amended Complaint [hereinafter AC], ECF No.

12 78, on these grounds, ECF No. 89; Plaintiff has filed an opposition, ECF No. 103; and Defendant has filed

13 a reply, ECF No. 107. Argument on that motion is scheduled for January 20, 2022.

14 2. Facts

15          Plaintiff alleges that it “is an unincorporated association and an approved student body association

16 of the Berkeley Unified School District of Berkeley, California.” AC ¶ 16. It has brought this lawsuit

17 seeking to vacate portions of the 2020 Rule.

18          Because Plaintiff asserts that portions of the 2020 Rule violate the Administrative Procedure Act

19 (APA), the factual matter of this lawsuit is limited to the administrative record, absent a showing of bad

20 faith or improper behavior.

21 3. Legal Issues

22          The central legal issue in this case is whether the 2020 Rule violates the APA. Defendant has also

23 raised in its motion to dismiss the threshold legal issue of whether Plaintiff has standing and whether this

24 case is ripe. ECF No. 89.

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 1 4. Motions

 2           At present, there are three motions pending.

 3           Defendant has filed a motion to dismiss this action on the ground that Plaintiff lacks standing and

 4 that this case is unripe. ECF No. 89. Plaintiff opposes that motion.

 5           Texas and three organizations (Foundation for Individual Rights in Education, the Independent

 6 Women’s Law Center, and Speech First, Inc.) have filed motions to intervene as defendants. ECF Nos. 82

 7 & 88. The parties oppose these motions.

 8           Defendant previously filed a motion to hold this case in abeyance, which the Court denied. ECF

 9 No. 56.
10           If this case proceeds beyond the Rule 12 stage, the parties anticipate that they would file cross-

11 motions for summary judgment.

12 5. Amendment of Pleadings

13           Plaintiff does not anticipate amending the Complaint again at this time. Defendant has not yet filed

14 an answer to the Complaint.

15 6. Evidence Preservation

16           The parties have reviewed the Guidelines Relating to the Discovery of Electronically Stored

17 Information. Because this proceeding is exempt from initial disclosure under Rule 26(a)(1)(B)—this is an

18 action for review on an administrative record—the parties need not confer under Rule 26(f). See Fed. R.
19 Civ. P. 26(f)(1). However, the parties can confirm that they have taken reasonable and proportionate steps

20 to preserve evidence relevant to the issues reasonably evident in this action.

21 7. Disclosures

22           This case is exempt from initial disclosure because it is “an action for review on an administrative

23 record.” See Fed. R. Civ. P. 26(a)(1)(B)(i). Accordingly, no initial disclosures have been made.

24 8. Discovery

25           The parties do not anticipate discovery in this case because—absent a showing of bad faith or

26 improper behavior—the Court’s review is limited to “the whole record or those parts of it cited by the

27 party.” See 5 U.S.C. § 706.

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 1 9. Class Actions

 2          This is not a class action.

 3 10. Related Cases

 4          The following cases also involve a challenge to the 2020 Rule: Know Your IX v. DeVos, No. 20-

 5 cv-1224 (D. Md. dismissed Oct. 20, 2020); New York v. ED, No. 20-cv-4260 (S.D.N.Y. dismissed Nov.

 6 4, 2020); Victim Rights Law Center v. DeVos, No. 20-cv-11104 (D. Mass. summary judgment granted in

 7 part and denied in part July 28, 2021), appeal filed, Nos. 21-1773, 21-1777, 21-1782, and 21-1784 (1st

 8 Cir. Sept. 27, 2021); and Pennsylvania v. DeVos, No. 20-cv-1468 (D.D.C. stayed Mar. 11, 2021).

 9 11. Relief
10          Plaintiff seeks to have the 2020 Rule vacated and to receive “reasonable costs and attorneys’ fees

11 incurred in the prosecution of this action.” See AC at 32.

12 12. Settlement and ADR

13          The parties met and conferred pursuant to Rule 3-5 of the ADR Local Rules “to discuss the

14 available ADR processes, to identify the process each believes will be most helpful to the parties’

15 settlement efforts, to specify any formal or informal exchange of information needed before an ADR

16 session, and to attempt to agree on an ADR process and a deadline for the ADR session.” They concluded

17 that ADR would be inappropriate at this time. No key discovery or motions are necessary to position the

18 parties to negotiate a resolution.
19 13. Consent to Magistrate Judge for all Purposes

20          The parties do not consent to have a magistrate judge conduct all further proceedings.

21 14. Other References

22          This case is not suitable for reference to binding arbitration, a special master, or the Judicial Panel

23 on Multidistrict Litigation.

24 15. Narrowing of Issues

25          Defendant believes that its pending motion to dismiss (ECF No. 89) could eliminate or narrow the

26 issues before the Court: if the Court grants Defendant’s motion to dismiss, the case would be dismissed;

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 1 if the Court grants the motion to dismiss in part and denies it in part, certain issues may be narrowed.

 2 Plaintiff expects the motion to dismiss will not narrow the issues before the Court.

 3 16. Expedited Trial Procedure

 4          This is not the type of case that can be handled under the Expedited Trial Procedure of General

 5 Order No. 64 Attachment A.

 6 17. Scheduling

 7          As discussed above, the parties currently do not believe that discovery is appropriate in this case.

 8 The parties disagree on whether to proceed to summary judgment now.

 9 Plaintiff’s Position:
10          Plaintiff continues to believe that Defendant should be ordered to file the administrative record

11 with the court forthwith. Local Rule 16-5 required the Defendant to file the administrative record on July

12 20, 2021, 90 days after the receipt of the service of the summons and complaint. Similarly, 90 days

13 following service of the Amended Complaint elapsed on January 2, 2022. There is no basis to further

14 delay Defendant’s compliance with this obligation, or reason not to follow the briefing schedule prescribed

15 by that rule.

16          Rule 16-5 prescribes deadlines for filing the administrative record and briefs that address all the

17 issues “[i]n actions for District Court review on an administrative record.” “While Civil L.R. 16-5 is most

18 frequently implicated in review of Social Security matters, it is not limited to such matters.” Doe 1 v.
19 Nielsen, No. 18CV02349, 2018 WL 4468393, at *2 (N.D. Cal. July 19, 2018). The text of Local Rule 16-

20 5 uses the same language that appears in Federal Rule of Civil Procedure 26 to exempt parties in APA

21 actions from certain discovery obligations. See Fed. R. Civ. P. 26(a)(1)(B)(i) (exempting “an action for

22 review on an administrative record”); Pit River Tribe v. Bureau of Land Mgmt., No. 2:19-CV-02483, 2021

23 WL 2337598, at *3 (E.D. Cal. June 8, 2021). The parties rely on that very language in Sections 6 and 7,

24 above, to explain why initial disclosures are not required in this case. The federal government likewise

25 stipulated in another case that an APA challenge to a regulation was subject to Local Rule 16-5. See

26 Oceana Inc. v. Bryson, No. 3:11-cv-06257, Dkt. 36 (Apr. 26, 2012) (Case Management Statement)

27 (assigned to Chen, J.).

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 1          Defendant’s only objection now appears to be that it wants the Court to rule on the motion to

 2 dismiss before the Defendant is put to the administrative hassle of filing the record. But it acknowledges

 3 that it has already compiled the administrative record and, in fact, has filed it in other courts—apparently

 4 without controversy (ECF No. 44 at 3). Thus this case does not appear analogous to that which arose in

 5 In re United States, 138 S. Ct. 443 (2017). There, after the government filed the administrative record,

 6 there was a significant dispute about whether it was complete and the district court issued something akin

 7 to expansive discovery orders. The Supreme Court held that it was an abuse of discretion “[u]nder the

 8 specific facts of th[at] case” for the district court not to address a motion to dismiss before requiring

 9 discovery to supplement the administrative record. Id. at 445. But Defendant points to no similar
10 circumstances that might arise in this case.

11          While the Court is indisputably under an obligation to assure itself of its jurisdiction before ruling

12 on the merits, see Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 94-95 (1998), no party is

13 constitutionally entitled to a ruling on its jurisdictional challenges before it is required to meet certain

14 ministerial requirements, such as filing the record as required by Local Rule 16-5. Further, Rule 56 “allows

15 a motion for summary judgment to be filed at the commencement of an action,” subject to the scheduling

16 discretion of the court. Fed. R. Civ. P. 56 advisory committee’s note (2010 amendments). One party should

17 not be able to unilaterally preclude another party from seeking summary judgment simply by withholding

18 the administrative record.
19 Defendant’s Position:

20          Defendant believes that the parties should not proceed to the merits—including filing motions for

21 summary judgment and a supporting administrative record—until the Court rules on Defendant’s motion

22 to dismiss. The “first and fundamental” question for any court is that of jurisdiction: “[t]he requirement

23 that jurisdiction be established as a threshold matter springs from the nature and limits of the judicial

24 power of the United States and is inflexible and without exception,” and therefore “[w]ithout jurisdiction

25 the court cannot proceed at all in any cause.” Steel Co. v. Citizens for a Better Environment, 523 U.S. 83,

26 94–95 (1998). However, under Plaintiff’s proposed schedule, the parties would proceed with briefing the

27 merits, which involves producing an administrative record of nearly 300,000 pages and lengthy briefing

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 1 of complex legal issues, before the Court assures itself of jurisdiction. Although the Constitution may not

 2 prohibit a scheduling order that sets forth simultaneous motions to dismiss and for summary judgment, it

 3 would be a potential waste of the parties’ resources to do so given the Court’s obligation to resolve

 4 jurisdictional questions first. For this reason, Rule 56 of the Federal Rules of Civil Procedure discourages

 5 briefing summary judgment before the district court resolves threshold issues: “Although the rule allows

 6 a motion for summary judgment to be filed at the commencement of an action, in many cases the motion

 7 will be premature until the nonmovant has had time to file a responsive pleading or other pretrial

 8 proceedings have been had. Scheduling orders or other pretrial orders can regulate timing to fit the needs

 9 of the case.” Fed. R. Civ. P. 56 advisory committee’s note (2010 amendments).
10          Notably, the Supreme Court has admonished another court in this district to decide motions to

11 dismiss before proceeding to further stages of the litigation, including lodging the administrative record

12 and summary judgment. See In re United States, 138 S. Ct. 443 (2017). Indeed, the grounds on which

13 Plaintiff distinguishes that decision are precisely the reasons why the Court should not order the parties to

14 proceed to the merits now. Although Defendant is confident that the administrative record is complete, if

15 the Court ordered it to be filed now, Plaintiff would have an opportunity to file a motion to supplement

16 the record. Briefing and resolving such motions when there are serious jurisdictional and threshold

17 questions may prove to be an unnecessary task. In addition, courts in this district are among the few that

18 order privilege logs to accompany administrative records. Defendant objects to that requirement, which is
19 borrowed from the completely different context of civil discovery. But should the Court order a privilege

20 log, this would be the first case involving a challenge to the 2020 Rule in which Defendant would have to

21 prepare one. And preparing such a log for an approximately 300,000 page record would also be a laborious

22 and potentially unnecessary task.

23          For these reasons, district courts routinely decide motions to dismiss before ordering briefing on

24 summary judgment, including in this very case. See also, e.g., Order, SurvJustice, Inc. v. DeVos, No. 18-

25 cv-0535, ECF No. 128 (N.D. Cal. May 2, 2019) (scheduling summary judgment briefing only after

26 denying in part the defendants’ motion to dismiss in a case involving a challenge to the Department’s

27 2017 guidance documents on sexual harassment). Because there continue to be serious jurisdictional and

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 1 threshold questions in this case regarding Plaintiff’s standing, the parties should not proceed to summary

 2 judgment until those issues have been resolved.

 3          Rule 16-5 of the Civil Local Rules, which Plaintiff believes supports lodging the administrative

 4 record now, does not counsel in favor of a different result. Defendant understands that rule to apply only

 5 to Social Security cases, not APA cases, such as this. Ordinary Social Security cases, which involve a

 6 dispute over a particular person’s benefits, often do not involve the type of threshold issues that frequently

 7 arise in APA cases, such as the availability of an adequate alternative remedy or Article III standing.

 8 Accordingly, in an ordinary Social Security case, a requirement to file an administrative record within 90

 9 days of service of the summons and complaint—regardless of outstanding threshold issues—does not
10 present the sort of issues present here. And even if this Court determines that Rule 16-5 applies to APA

11 cases, it still should not order Defendant to file the administrative record before the Court resolves the

12 motion to dismiss for the reasons stated above.

13          Accordingly, Defendant proposes that the parties file a joint status report proposing a summary

14 judgment schedule, including a schedule for the supporting administrative record, two weeks after the

15 Court rules on Defendant’s motion to dismiss.

16 18. Trial

17          The parties believe that this case should not proceed beyond summary judgment and, thus, that a

18 trial would be inappropriate.
19 19. Disclosure of Non-party Interested Entities or Persons

20          Plaintiff filed its Certificate of Interested Entities on March 8, 2021. ECF No. 6. Defendant, which

21 is a government entity, is not required to file a Certification of Interested Entities or Persons and has not

22 done so. See Civil L.R. 3-15(a).

23 20. Professional Conduct

24          All attorneys of record for the parties have reviewed the Guidelines for Professional Conduct for

25 the Northern District of California.

26    Dated: January 13, 2022                            Respectfully Submitted,

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      Public Justice                                     Acting Assistant Attorney General
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